                                Case 8:13-bk-00745-MGW                         Doc 30    Filed 02/21/13      Page 1 of 35
B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                    Middle District of Florida
 In re          Leslie P. Holdsworth                                                                     Case No. 8:13-bk-00745-MGW
                                                                                                    ,
                                                                                   Debtor
                                                                                                         Chapter                         11




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF         ASSETS               LIABILITIES                  OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             1                 810,000.00


B - Personal Property                                     Yes             4                  56,926.94


C - Property Claimed as Exempt                            Yes             1


D - Creditors Holding Secured Claims                      Yes             1                                      1,566,309.42


E - Creditors Holding Unsecured                           Yes             2                                         36,951.06
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             6                                      1,560,497.77
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             2


I - Current Income of Individual                          Yes             1                                                                        9,539.49
    Debtor(s)

J - Current Expenditures of Individual                    Yes             2                                                                       12,520.82
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                21


                                                                    Total Assets            866,926.94


                                                                                     Total Liabilities           3,163,758.25




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Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                                    Middle District of Florida
 In re           Leslie P. Holdsworth                                                                               Case No. 8:13-bk-00745-MGW
                                                                                                         ,
                                                                                       Debtor
                                                                                                                    Chapter                11


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                  Amount

             Domestic Support Obligations (from Schedule E)                                                      0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                         36,951.06

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                                 0.00

             Student Loan Obligations (from Schedule F)                                                          0.00

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                                 0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                                 0.00

                                                                            TOTAL                        36,951.06


             State the following:

             Average Income (from Schedule I, Line 16)                                                       9,539.49

             Average Expenses (from Schedule J, Line 18)                                                 12,520.82

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                        9,999.30


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                                   756,309.42

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                         36,274.57

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                       676.49

             4. Total from Schedule F                                                                                            1,560,497.77

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                        2,317,483.68




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B6A (Official Form 6A) (12/07)


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 In re         Leslie P. Holdsworth                                                                           Case No. 8:13-bk-00745-MGW
                                                                                                  ,
                                                                                   Debtor

                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                 Husband,    Current Value of
                                                                         Nature of Debtor's       Wife,     Debtor's Interest in            Amount of
               Description and Location of Property                      Interest in Property     Joint, or  Property, without             Secured Claim
                                                                                                Community Deducting  any Secured
                                                                                                            Claim or Exemption

Homestead property located at 930 Allegro Lane,                          Fee simple                   J                  410,000.00               859,309.42
Apollo Beach, FL 33572

Real property located at 2980 Mountain Air Dr.,                          Fee simple                   J                  400,000.00               707,000.00
Burnsville, NC




                                                                                                  Sub-Total >            810,000.00        (Total of this page)

                                                                                                          Total >        810,000.00
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                  (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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 In re         Leslie P. Holdsworth                                                                              Case No. 8:13-bk-00745-MGW
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                    X

2.    Checking, savings or other financial                Checking account with Wells Fargo                                 J                           826.94
      accounts, certificates of deposit, or
      shares in banks, savings and loan,
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Misc. furniture and books                                         J                        6,000.00
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                   X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    Misc. clothing                                                    -                           500.00

7.    Furs and jewelry.                                   Wedding ring, earrings, and costume jewelry                       -                        2,500.00

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                    Term life insurance policy on spouse with                         -                              0.00
      Name insurance company of each                      Primerica Life
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.




                                                                                                                            Sub-Total >            9,826.94
                                                                                                                (Total of this page)

  3    continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Leslie P. Holdsworth                                                                              Case No. 8:13-bk-00745-MGW
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    Merrill Lynch account                                             J                        1,100.00
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   50% interest in Transport 1, LLC                                  -                      Unknown
    and unincorporated businesses.
    Itemize.                                              50% interest in Worth Holding, LLC                                -                      Unknown

                                                          50% interest in JHLH, LLP (no longer operating)                   -                              0.00

                                                          50% interest in Lantern Bay Development                           -                              0.00
                                                          Corporation (no longer operating)

14. Interests in partnerships or joint                    50% interest in Holdsworth Properties LLC defunct                 -                              0.00
    ventures. Itemize.                                    corporation no shares were issued

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor                 IRS tax refund (has received $10,00 of tax return                 J                      38,000.00
    including tax refunds. Give particulars.              since filing date)


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.



                                                                                                                            Sub-Total >          39,100.00
                                                                                                                (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Leslie P. Holdsworth                                                                              Case No. 8:13-bk-00745-MGW
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    2004 500S Mercedes                                                J                        1,500.00
    other vehicles and accessories.
                                                          2006 Ford F150 truck (198K miles) located in NC                   J                        5,000.00

26. Boats, motors, and accessories.                       25' O-Day sailboat                                                J                        1,500.00

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                          X

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X




                                                                                                                            Sub-Total >            8,000.00
                                                                                                                (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Leslie P. Holdsworth                                                                              Case No. 8:13-bk-00745-MGW
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

35. Other personal property of any kind               X
    not already listed. Itemize.




                                                                                                                            Sub-Total >                  0.00
                                                                                                                (Total of this page)
                                                                                                                                 Total >         56,926.94
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                       (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (4/10)


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  In re         Leslie P. Holdsworth                                                                                     Case No. 8:13-bk-00745-MGW
                                                                                                             ,
                                                                                         Debtor

                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                    $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                         with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                           Value of                 Current Value of
                  Description of Property                                          Each Exemption                               Claimed                  Property Without
                                                                                                                               Exemption               Deducting Exemption
Real Property
Homestead property located at 930 Allegro                                 Fla. Const. art. X, § 4(a)(1); Fla. Stat.                        100%                     410,000.00
Lane, Apollo Beach, FL 33572                                              Ann. §§ 222.01 & 222.02

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Checking account with Wells Fargo                 11 U.S.C. § 522(b)(3)(B)                                                                 100%                            826.94

Household Goods and Furnishings
Misc. furniture and books                                                 11 U.S.C. § 522(b)(3)(B)                                         100%                         6,000.00

Wearing Apparel
Misc. clothing                                                            Fla. Const. art. X, § 4(a)(2)                                    100%                            500.00

Furs and Jewelry
Wedding ring, earrings, and costume jewelry                               Fla. Const. art. X, § 4(a)(2)                                  500.00                         2,500.00

Interests in Insurance Policies
Term life insurance policy on spouse with                                 Fla. Stat. Ann. § 222.14                                         100%                               0.00
Primerica Life

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Merrill Lynch account                               11 U.S.C. § 522(b)(3)(B)                                                               100%                         1,100.00

Other Liquidated Debts Owing Debtor Including Tax Refund
IRS tax refund (has received $10,00 of tax return 11 U.S.C. § 522(b)(3)(B)                                                                 100%                       38,000.00
since filing date)

Automobiles, Trucks, Trailers, and Other Vehicles
2004 500S Mercedes                                                        Fla. Stat. Ann. § 222.25(1)                                  1,000.00                         1,500.00
                                                                          11 U.S.C. § 522(b)(3)(B)                                       500.00

2006 Ford F150 truck (198K miles) located in NC                           11 U.S.C. § 522(b)(3)(B)                                         100%                         5,000.00

Boats, Motors and Accessories
25' O-Day sailboat                                                        11 U.S.C. § 522(b)(3)(B)                                         100%                         1,500.00




                                                                                                             Total:                  54,926.94                       466,926.94
    0     continuation sheets attached to Schedule of Property Claimed as Exempt
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 B6D (Official Form 6D) (12/07)


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  In re         Leslie P. Holdsworth                                                                                       Case No. 8:13-bk-00745-MGW
                                                                                                              ,
                                                                                             Debtor

                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                         C    U   D   AMOUNT OF
             CREDITOR'S NAME                            O                                                              O    N   I
                                                        D   H        DATE CLAIM WAS INCURRED,                          N    L   S      CLAIM
          AND MAILING ADDRESS                           E                                                              T    I   P     WITHOUT                UNSECURED
           INCLUDING ZIP CODE,                          B   W            NATURE OF LIEN, AND                           I    Q   U                            PORTION, IF
                                                        T   J          DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                     DEDUCTING
          AND ACCOUNT NUMBER                            O                                                              G    I   E     VALUE OF                  ANY
            (See instructions above.)
                                                            C               OF PROPERTY
                                                        R
                                                                           SUBJECT TO LIEN
                                                                                                                       E    D   D   COLLATERAL
                                                                                                                       N    A
                                                                                                                       T    T
Account No.                                                     Mortgage                                                    E
                                                                                                                            D

SunTrust Mortgage                                               Homestead property located at 930
PO Box 26149                                                    Allegro Lane, Apollo Beach, FL 33572
Richmond, VA 23260
                                                        X J                                                                 X

                                                                Value $                               410,000.00                        410,717.15                     717.15
Account No.                                                     Second Mortgage

SunTrust Mortgage                                               Homestead property located at 930
PO Box 27767                                                    Allegro Lane, Apollo Beach, FL 33572
Richmond, VA 23261
                                                        X J                                                                 X

                                                                Value $                               410,000.00                        448,592.27               448,592.27
Account No.                                                     Mortgage

SunTrust Mortgage                                               Real property located at 2980 Mountain
PO Box 305053                                                   Air Dr., Burnsville, NC
Nashville, TN 37230
                                                        X J                                                                 X

                                                                Value $                               400,000.00                        707,000.00               307,000.00
Account No.




                                                                Value $
                                                                                                                    Subtotal
 0
_____ continuation sheets attached                                                                                                    1,566,309.42               756,309.42
                                                                                                           (Total of this page)
                                                                                                                     Total            1,566,309.42               756,309.42
                                                                                           (Report on Summary of Schedules)

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B6E (Official Form 6E) (4/10)


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 In re         Leslie P. Holdsworth                                                                                               Case No. 8:13-bk-00745-MGW
                                                                                                                     ,
                                                                                               Debtor

                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            1         continuation sheets attached
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                               Case 8:13-bk-00745-MGW                              Doc 30         Filed 02/21/13           Page 11 of 35
 B6E (Official Form 6E) (4/10) - Cont.




  In re         Leslie P. Holdsworth                                                                                     Case No. 8:13-bk-00745-MGW
                                                                                                            ,
                                                                                             Debtor

                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                     Taxes and Certain Other Debts
                                                                                                                      Owed to Governmental Units
                                                                                                                                  TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                       C    U   D
            CREDITOR'S NAME,                            O                                                            O    N   I                      AMOUNT NOT
                                                        D                                                            N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                     OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                        N    U   T                               AMOUNT
                                                        O                                                            G    I   E                            ENTITLED TO
             (See instructions.)                        R   C                                                        E    D   D
                                                                                                                     N    A
                                                                                                                                                              PRIORITY
                                                                                                                     T    T
Account No.                                                                                                               E
                                                                                                                          D

Internal Revenue Service
Centralized Insolvency                                                                                                                               676.49
PO Box 7346
                                                            -                                                                 X
Philadelphia, PA 19101-7346

                                                                                                                                        36,951.06             36,274.57
Account No.




Account No.




Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                             Subtotal                           676.49
Schedule of Creditors Holding Unsecured Priority Claims                                                  (Total of this page)           36,951.06             36,274.57
                                                                                                                     Total                           676.49
                                                                                           (Report on Summary of Schedules)             36,951.06             36,274.57

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 B6F (Official Form 6F) (12/07)


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  In re         Leslie P. Holdsworth                                                                                     Case No. 8:13-bk-00745-MGW
                                                                                                               ,
                                                                                             Debtor


               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No.                                                                                                                                 T   T
                                                                                                                                                E
                                                                                                                                                D

B. Gray Gibbs, P.A.
100 2nd Ave. S.                                                      X -
Ste. 1202
Saint Petersburg, FL 33701
                                                                                                                                                                         397.10
Account No.                                                                   deficiency on mortgage foreclosure

Bank of America
PO Box 1598                                                          X J                                                                            X
Norfolk, VA 23501

                                                                                                                                                                      Unknown
Account No.

Bay Area Hospitalist
c/o Gulf Coast Collection                                                 -
5630 Marquesas Cir.
Sarasota, FL 34233-3331
                                                                                                                                                                         438.00
Account No.                                                                   legal fees defense of wrongful death suit

Blake Melhish
522 12th St. W.                                                      X J
Bradenton, FL

                                                                                                                                                                     17,000.00

                                                                                                                                        Subtotal
 5
_____ continuation sheets attached                                                                                                                                   17,835.10
                                                                                                                              (Total of this page)




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  In re         Leslie P. Holdsworth                                                                                   Case No. 8:13-bk-00745-MGW
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                          C   U   D
                  CREDITOR'S NAME,                                   O                                                                O   N   I
                  MAILING ADDRESS                                    D    H                                                           N   L   S
                INCLUDING ZIP CODE,
                                                                     E
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                                                                                      DATE CLAIM WAS INCURRED AND                     T   I   P
                                                                     B                                                                I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                 N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                 G   I   E
                 (See instructions above.)                           R                                                                E   D   D
                                                                                                                                      N   A
                                                                                                                                      T   T
Account No. xxxxx9681                                                                                                                     E
                                                                                                                                          D

Brandon Regional Hospital
PO Box 9800                                                               -
Palm Harbor, FL 34682

                                                                                                                                                            14,075.02
Account No.                                                                   judgment

CACH LLC
4340 S. Monaco St.                                                   X J
Unit 2
Denver, CO 80237
                                                                                                                                                            15,293.74
Account No.

Discover Card
PO Box 71084                                                              -
Charlotte, NC 28272-1084

                                                                                                                                                             Unknown
Account No.                                                                   attorney fees

E. Blake Melhuish PA
522 12th St.W.                                                       X J
Bradenton, FL 34205

                                                                                                                                                            26,238.92
Account No.                                                                   wrongful death lawsuit

Estate of Samuel Garcia
c/o Ronlando Santiago Esq.                                           X J                                                                  X X
240 Apollo Beach Blvd.
Apollo Beach, FL 33572
                                                                                                                                                                    0.00

           1
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            55,607.68
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)




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  In re         Leslie P. Holdsworth                                                                                   Case No. 8:13-bk-00745-MGW
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                          C   U   D
                  CREDITOR'S NAME,                                   O                                                                O   N   I
                  MAILING ADDRESS                                    D    H                                                           N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                     T   I   P
                                                                     B                                                                I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                 N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                 G   I   E
                 (See instructions above.)                           R                                                                E   D   D
                                                                                                                                      N   A
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Account No.                                                                                                                               E
                                                                                                                                          D

Everbank as assignee from
Bank of Florida                                                      X J                                                                      X
c/o Robert M. Clements, Esq.
501 Riverside Ave.
Jacksonville, FL 32202                                                                                                                                  1,368,842.49
Account No.

George V. Famiglio Jr CPA
1634 Main St.                                                        X J
Sarasota, FL 34236

                                                                                                                                                              3,528.50
Account No. xxx481.1

Greater FL Anesthesiologists
c/o Frost-Arnett                                                          -
PO Box 1002
Wixom, MI 48393-1022
                                                                                                                                                              1,320.00
Account No. xxxxxxxxxx5508                                                    1978 Hatterass

Key Bank
PO Box 94968                                                         X J                                                                      X
Cleveland, OH 44101-4068

                                                                                                                                                                    0.00
Account No.                                                                   Target

Midland Credit Managment Inc
8875 Aero Dr.                                                        X J
Ste. 200
San Diego, CA 92123
                                                                                                                                                              6,984.00

           2
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                        1,380,674.99
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Leslie P. Holdsworth                                                                                   Case No. 8:13-bk-00745-MGW
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                          C   U   D
                  CREDITOR'S NAME,                                   O                                                                O   N   I
                  MAILING ADDRESS                                    D    H                                                           N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                     T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                 N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                                E   D   D
                                                                                                                                      N   A
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Account No. xxxxxxxxxxx6816                                                                                                               E
                                                                                                                                          D

Oakfield Drive Emergency
Physician                                                                 -
PO Box 37803
Philadelphia, PA 19101-0103
                                                                                                                                                              1,335.00
Account No. xxxxxxxxxx3802

Plantation Billing Center
PO Box 189016                                                             -
Fort Lauderdale, FL 33318-9016

                                                                                                                                                                958.00
Account No. xxxx5444

Radiology Associates
c/o Business Revenue Systems                                              -
PO Box 1307
Des Moines, IA 50310-0077
                                                                                                                                                                248.00
Account No. xxxxxxx9681

Ruffolo Hooper & Associates
5755 Hoover Blvd.                                                         -
Tampa, FL 33634-5340

                                                                                                                                                                367.00
Account No. xxxxxxx5298

Ruffolo Hooper & Associates
5755 Hoover Blvd.                                                         -
Tampa, FL 33634-5340

                                                                                                                                                                  84.00

           3
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                              2,992.00
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Leslie P. Holdsworth                                                                                   Case No. 8:13-bk-00745-MGW
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                          C   U   D
                  CREDITOR'S NAME,                                   O                                                                O   N   I
                  MAILING ADDRESS                                    D    H                                                           N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                     T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                 N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                 G   I   E
                 (See instructions above.)                           R                                                                E   D   D
                                                                                                                                      N   A
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Account No. xxxx6624                                                                                                                      E
                                                                                                                                          D

Tampa Bay Radiology Assoc
PO Box 20367                                                              -
Tampa, FL 33622-0367

                                                                                                                                                                648.00
Account No. xx0580

Tampa Bay Surgical Group
PO Box 22289                                                              -
Saint Petersburg, FL 33742-2289

                                                                                                                                                              2,343.00
Account No. xxxxx4434

Tampa General Hospital
c/o Preferred CMS                                                         -
PO Box 2964
Tampa, FL 33601-2964
                                                                                                                                                            13,467.00
Account No.

TD Bank, N.A.
32 Chestnut St.                                                      X J
Lewiston, ME 04240

                                                                                                                                                            56,415.00
Account No.

Toyota Motor Credit Company
19001 S. Western Ave.                                                X J
Torrance, CA 90501

                                                                                                                                                            11,994.00

           4
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            84,867.00
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)




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  In re         Leslie P. Holdsworth                                                                                     Case No. 8:13-bk-00745-MGW
                                                                                                                ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
                INCLUDING ZIP CODE,
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                 (See instructions above.)                           R                                                                   E   D   D
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Account No.                                                                                                                                  E
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USAA/Northland Group
PO Box 390846                                                        X J
Minneapolis, MN 55439

                                                                                                                                                               18,521.00
Account No.




Account No.




Account No.




Account No.




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Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                               18,521.00
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)            1,560,497.77


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B6G (Official Form 6G) (12/07)


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 In re             Leslie P. Holdsworth                                                                        Case No. 8:13-bk-00745-MGW
                                                                                                     ,
                                                                                   Debtor

                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.




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                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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 In re          Leslie P. Holdsworth                                                                    Case No. 8:13-bk-00745-MGW
                                                                                              ,
                                                                             Debtor

                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                     NAME AND ADDRESS OF CREDITOR

                 Holdsworth Properties, LLC                                       Everbank as assignee from
                 930 Allegro Lane                                                 Bank of Florida
                 Apollo Beach, FL 33572                                           c/o Robert M. Clements, Esq.
                                                                                  501 Riverside Ave.
                                                                                  Jacksonville, FL 32202

                 John Holdsworth                                                  SunTrust Mortgage
                 930 Allegro Lane                                                 PO Box 26149
                 Apollo Beach, FL 33572                                           Richmond, VA 23260

                 John Holdsworth                                                  SunTrust Mortgage
                 930 Allegro Lane                                                 PO Box 27767
                 Apollo Beach, FL 33572                                           Richmond, VA 23261

                 John Holdsworth                                                  SunTrust Mortgage
                 930 Allegro Lane                                                 PO Box 305053
                 Apollo Beach, FL 33572                                           Nashville, TN 37230

                 John Holdsworth                                                  Key Bank
                 930 Allegro Lane                                                 PO Box 94968
                 Apollo Beach, FL 33572                                           Cleveland, OH 44101-4068

                 John Holdsworth                                                  Blake Melhish
                 930 Allegro Lane                                                 522 12th St. W.
                 Apollo Beach, FL 33572                                           Bradenton, FL

                 John Holdsworth                                                  Bank of America
                 930 Allegro Lane                                                 PO Box 1598
                 Apollo Beach, FL 33572                                           Norfolk, VA 23501

                 John Holdsworth                                                  CACH LLC
                 930 Allegro Lane                                                 4340 S. Monaco St.
                 Apollo Beach, FL 33572                                           Unit 2
                                                                                  Denver, CO 80237

                 John Holdsworth                                                  Estate of Samuel Garcia
                 930 Allegro Lane                                                 c/o Ronlando Santiago Esq.
                 Apollo Beach, FL 33572                                           240 Apollo Beach Blvd.
                                                                                  Apollo Beach, FL 33572

                 John Holdsworth                                                  Midland Credit Managment Inc
                 930 Allegro Lane                                                 8875 Aero Dr.
                 Apollo Beach, FL 33572                                           Ste. 200
                                                                                  San Diego, CA 92123




      1
              continuation sheets attached to Schedule of Codebtors
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 In re         Leslie P. Holdsworth                                                                      Case No. 8:13-bk-00745-MGW
                                                                                                ,
                                                                                  Debtor

                                                              SCHEDULE H - CODEBTORS
                                                                         (Continuation Sheet)


                  NAME AND ADDRESS OF CODEBTOR                                        NAME AND ADDRESS OF CREDITOR


                  John Holdsworth                                                     TD Bank, N.A.
                  930 Allegro Lane                                                    32 Chestnut St.
                  Apollo Beach, FL 33572                                              Lewiston, ME 04240

                  John Holdsworth                                                     Toyota Motor Credit Company
                  930 Allegro Lane                                                    19001 S. Western Ave.
                  Apollo Beach, FL 33572                                              Torrance, CA 90501

                  John Holdsworth                                                     USAA/Northland Group
                  930 Allegro Lane                                                    PO Box 390846
                  Apollo Beach, FL 33572                                              Minneapolis, MN 55439

                  John Holdsworth                                                     Everbank as assignee from
                  930 Allegro Lane                                                    Bank of Florida
                  Apollo Beach, FL 33572                                              c/o Robert M. Clements, Esq.
                                                                                      501 Riverside Ave.
                                                                                      Jacksonville, FL 32202

                  John Holdsworth                                                     George V. Famiglio Jr CPA
                  930 Allegro Lane                                                    1634 Main St.
                  Apollo Beach, FL 33572                                              Sarasota, FL 34236

                  John Holdsworth                                                     E. Blake Melhuish PA
                  930 Allegro Lane                                                    522 12th St.W.
                  Apollo Beach, FL 33572                                              Bradenton, FL 34205

                  John Holdsworth                                                     B. Gray Gibbs, P.A.
                  930 Allegro Lane                                                    100 2nd Ave. S.
                  Apollo Beach, FL 33572                                              Ste. 1202
                                                                                      Saint Petersburg, FL 33701




    Sheet     1     of 1       continuation sheets attached to the Schedule of Codebtors

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B6I (Official Form 6I) (12/07)
 In re    Leslie P. Holdsworth                                                                          Case No.        8:13-bk-00745-MGW
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                None.

Employment:                                          DEBTOR                                                        SPOUSE
Occupation                           Speech Pathologist
Name of Employer                     Nurse On Call
How long employed
Address of Employer                 5208 E. Fowler Ave.
                                    Tampa, FL 33617
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $       3,529.54         $            N/A
2. Estimate monthly overtime                                                                             $           0.00         $            N/A

3. SUBTOTAL                                                                                              $         3,529.54       $                 N/A


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             459.81     $                 N/A
     b. Insurance                                                                                        $               0.00     $                 N/A
     c. Union dues                                                                                       $               0.00     $                 N/A
     d. Other (Specify):                                                                                 $               0.00     $                 N/A
                                                                                                         $               0.00     $                 N/A

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             459.81     $                 N/A

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         3,069.73       $                 N/A

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $               0.00     $                 N/A
8. Income from real property                                                                             $               0.00     $                 N/A
9. Interest and dividends                                                                                $               0.00     $                 N/A
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $               0.00     $                 N/A
11. Social security or government assistance
(Specify):                                                                                               $               0.00     $                 N/A
                                                                                                         $               0.00     $                 N/A
12. Pension or retirement income                                                                         $               0.00     $                 N/A
13. Other monthly income
(Specify):           Addittional employment (net figures)                                                $         6,469.76       $                 N/A
                                                                                                         $             0.00       $                 N/A

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         6,469.76       $                 N/A

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         9,539.49       $                 N/A

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            9,539.49
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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B6J (Official Form 6J) (12/07)
 In re    Leslie P. Holdsworth                                                                Case No.    8:13-bk-00745-MGW
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 7,652.00
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes X              No
2. Utilities:      a. Electricity and heating fuel                                                          $                   145.00
                   b. Water and sewer                                                                       $                   168.00
                   c. Telephone                                                                             $                   239.37
                   d. Other See Detailed Expense Attachment                                                 $                   168.57
3. Home maintenance (repairs and upkeep)                                                                    $                   200.00
4. Food                                                                                                     $                   600.00
5. Clothing                                                                                                 $                   100.00
6. Laundry and dry cleaning                                                                                 $                    50.00
7. Medical and dental expenses                                                                              $                   100.00
8. Transportation (not including car payments)                                                              $                 1,000.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                    50.00
10. Charitable contributions                                                                                $                    50.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                    93.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                   360.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                   550.73
                   b. Other Boat                                                                            $                   794.15
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                   200.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other                                                                                                   $                     0.00
    Other                                                                                                   $                     0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                12,520.82
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 9,539.49
b. Average monthly expenses from Line 18 above                                                              $                12,520.82
c. Monthly net income (a. minus b.)                                                                         $                -2,981.33
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B6J (Official Form 6J) (12/07)
 In re    Leslie P. Holdsworth                                              Case No.   8:13-bk-00745-MGW
                                                     Debtor(s)

                  SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                        Detailed Expense Attachment
Other Utility Expenditures:
Cable                                                                                  $                   93.57
Gas                                                                                    $                   75.00
Total Other Utility Expenditures                                                       $               168.57
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                          United States Bankruptcy Court
                                                                   Middle District of Florida
 In re      Leslie P. Holdsworth                                                                              Case No.   8:13-bk-00745-MGW
                                                                                   Debtor(s)                  Chapter    11




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of            23
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date February 21, 2013                                                Signature   /s/ Leslie P. Holdsworth
                                                                                   Leslie P. Holdsworth
                                                                                   Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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              3. Payments to creditors

     None     Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
              services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
              aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
              payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
              a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
              include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
              not filed.)

NAME AND ADDRESS                                                         DATES OF                                                      AMOUNT STILL
   OF CREDITOR                                                           PAYMENTS                            AMOUNT PAID                 OWING

     None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                  AMOUNT
                                                                         DATES OF                                  PAID OR
                                                                         PAYMENTS/                               VALUE OF              AMOUNT STILL
NAME AND ADDRESS OF CREDITOR                                             TRANSFERS                              TRANSFERS                OWING

     None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
              creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
     RELATIONSHIP TO DEBTOR                                              DATE OF PAYMENT                     AMOUNT PAID                 OWING

              4. Suits and administrative proceedings, executions, garnishments and attachments

     None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
              this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                                        NATURE OF       COURT OR AGENCY                                   STATUS OR
AND CASE NUMBER                                                        PROCEEDING      AND LOCATION                                      DISPOSITION
SunTrust Bank v. Leslie P. Holdwsworth, et al.,                        breach of       13th Judicial Circuit                             pending
Case# 2011-CA-14256                                                    contract        Circuit Court
                                                                                       Hillsborough County
CACH, LLC v. Leslie P. Holdsworth et al., Case#                        account         13th Judicial Circuit                             judgment
2011-CC-31725                                                          collection      County Court
                                                                                       Hillsborough County
Everbank v. Leslie P. Holdsworth et al., Case#                         Foreclosure     13th Judicial Circuit                             pending
2011-CA-10102                                                                          Circuit Court
                                                                                       Hillsborough County
Samuel Garcia III v. Leslie P. Holdsworth, et al.,                     Breach of       13th Judicial Circuit                             pending
Case# 2010-CA-12734                                                    Contract        Circuit Court
                                                                                       Hillsborough County
SunTrust Mortgage v. Leslie Holdsworth et al.,                         foreclosure     Superior Court                                    trustee deed
Case# 11-SP75                                                                          Yancey County                                     sale pending
                                                                                       North Carolina



*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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CAPTION OF SUIT                                                        NATURE OF         COURT OR AGENCY                                 STATUS OR
AND CASE NUMBER                                                        PROCEEDING        AND LOCATION                                    DISPOSITION
In re Leslie Holdsworth, 8:12-bk-08291-MGW                             bankrutpcy        United States Bankruptcy Court                  dismissed
                                                                                         Middle District of Florida
                                                                                         Tampa Division

   None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

NAME AND ADDRESS OF PERSON FOR WHOSE                                                        DESCRIPTION AND VALUE OF
   BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE             PROPERTY

              5. Repossessions, foreclosures and returns

   None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
              returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
              or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
              spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                  PROPERTY

              6. Assignments and receiverships

   None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
              this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
              joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                     TERMS OF ASSIGNMENT OR SETTLEMENT

   None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                         DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                   ORDER                    PROPERTY

              7. Gifts

   None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
              and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
              aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                             DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                     DATE OF GIFT             VALUE OF GIFT

              8. Losses

   None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
              since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                          DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                     LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                              BY INSURANCE, GIVE PARTICULARS                     DATE OF LOSS



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              9. Payments related to debt counseling or bankruptcy

   None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
              concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
              preceding the commencement of this case.

                                                                         DATE OF PAYMENT,                                  AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYOR IF OTHER                          OR DESCRIPTION AND VALUE
    OF PAYEE                                                                 THAN DEBTOR                                     OF PROPERTY
Morse & Gomez, P.A.                                                    See 2016(b) Statement
11268 Winthrop Main Street
Suite 102
Riverview, FL 33578

              10. Other transfers

   None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
              transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
              filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
              spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                                 DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                            DATE                             AND VALUE RECEIVED
Unknown                                                                                         Sold Ford GT for $100,000, TransAm for $18,000
                                                                                                and another TransAm for $11,500. Owned jointly
    None                                                                                        with husband. Sale date may have been more
                                                                                                than 24 months before Petition for Relief.

   None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
              trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                          AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF               VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)              IN PROPERTY

              11. Closed financial accounts

   None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
              otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
              financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
              cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
              include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
              unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                         DIGITS OF ACCOUNT NUMBER,                     AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                           OR CLOSING

              12. Safe deposit boxes

   None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
              immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
              depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                       DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                       OF CONTENTS                    SURRENDER, IF ANY




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              13. Setoffs

   None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
              commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                                 AMOUNT OF SETOFF

              14. Property held for another person

   None       List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                  LOCATION OF PROPERTY

              15. Prior address of debtor

   None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
              occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
              address of either spouse.

ADDRESS                                                                NAME USED                                      DATES OF OCCUPANCY

              16. Spouses and Former Spouses

   None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
              Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
              commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
              the community property state.

NAME

              17. Environmental Information.

              For the purpose of this question, the following definitions apply:

              "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
              or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
              statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                   owned or operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

   None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
              or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
              the Environmental Law:

                                                      NAME AND ADDRESS OF                       DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                       LAW

   None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
              Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                       DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                       LAW

   None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
              the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
              docket number.



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NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                   STATUS OR DISPOSITION

              18 . Nature, location and name of business

   None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
              partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
              immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
              within six years immediately preceding the commencement of this case.

              If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
              years immediately preceding the commencement of this case.

              If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
              years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                                 BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                         NATURE OF BUSINESS               ENDING DATES
Holdsworth                      204393590                        2311 7th St. SW                                                  7/14/2005 - 9/24/2010
Properties, LLC                                                  Ruskin, FL 33570
Worth Holding, LLC                                               2311 7th St. SW                                                  8/5/2009 - 9/24/2010
                                                                 Ruskin, FL 33570
Mariner's Cove                  650811895                        400 Frandorson Cir.                                              7/17/1997 - 10/4/2002
Development                                                      Suite 204
Corporation                                                      Apollo Beach, FL 33572
JHLH, LLLP                                                       2311 7th St. SW                                                  4/22/2011 - present
                                                                 Ruskin, FL 33570
Southern Air, LLC               562435088                        2311 7th St. SW                                                  2/11/2004 - 9/26/2008
                                                                 Ruskin, FL 33570
Little Manatee River                                             2311 7th St. SW                                                  8/25/2009 - 9/24/2010
II, LLC                                                          Ruskin, FL 33570
Transport 1, LLC                                                 930 Allegro Lane                                                 3/15/2012 - present
                                                                 Apollo Beach, FL 33572
Lantern Bay                     593595640                        930 Allegro Lane                                                 12/30/1997 -
Development                                                      Apollo Beach, FL 33572                                           9/16/2005
Corporation

   None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)



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B 7 (12/12)                                                                                                                                                   7

              19. Books, records and financial statements

   None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
              supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

   None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
              of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                   DATES SERVICES RENDERED

   None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
              of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                   ADDRESS

   None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
              issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                                DATE ISSUED

              20. Inventories

   None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
              and the dollar amount and basis of each inventory.

                                                                                                          DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                      (Specify cost, market or other basis)

   None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                               NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                              RECORDS

              21 . Current Partners, Officers, Directors and Shareholders

   None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                             PERCENTAGE OF INTEREST

   None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
              controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                          NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                              OF STOCK OWNERSHIP

              22 . Former partners, officers, directors and shareholders

   None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
              commencement of this case.

NAME                                                      ADDRESS                                                   DATE OF WITHDRAWAL

   None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
              immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                              DATE OF TERMINATION




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B 7 (12/12)                                                                                                                                                       8

              23 . Withdrawals from a partnership or distributions by a corporation

   None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
              in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
              commencement of this case.

NAME & ADDRESS                                                                                                            AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                                   OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                      VALUE OF PROPERTY

              24. Tax Consolidation Group.

   None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
              group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
              of the case.

NAME OF PARENT CORPORATION                                                                              TAXPAYER IDENTIFICATION NUMBER (EIN)

              25. Pension Funds.

   None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
              employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                              ******

                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date February 21, 2013                                                 Signature   /s/ Leslie P. Holdsworth
                                                                                   Leslie P. Holdsworth
                                                                                   Debtor

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                          United States Bankruptcy Court
                                                                   Middle District of Florida
 In re     Leslie P. Holdsworth                                                                          Case No.   8:13-bk-00745-MGW
                                                                                  Debtor(s)              Chapter    11




                                           VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



Date: February 21, 2013                                                /s/ Leslie P. Holdsworth
                                                                       Leslie P. Holdsworth
                                                                       Signature of Debtor




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B22B (Official Form 22B) (Chapter 11) (12/10)
In re   Leslie P. Holdsworth
                           Debtor(s)
Case Number:     8:13-bk-00745-MGW
                            (If known)


                             CHAPTER 11 STATEMENT OF CURRENT MONTHLY INCOME
In addition to Schedules I and J, this statement must be completed by every individual Chapter 11 debtor, whether or not filing jointly. Joint debtors
may complete one statement only.

                                      Part I. CALCULATION OF CURRENT MONTHLY INCOME
            Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
            a.   Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
     1
            b.      Married, not filing jointly. Complete only column A ("Debtor's Income") for Lines 2-10.
            c.      Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
            All figures must reflect average monthly income received from all sources, derived during the six Column A        Column B
            calendar months prior to filing the bankruptcy case, ending on the last day of the month before
            the filing. If the amount of monthly income varied during the six months, you must divide the     Debtor's        Spouse's
            six-month total by six, and enter the result on the appropriate line.                              Income          Income

     2      Gross wages, salary, tips, bonuses, overtime, commissions.                                           $        3,529.54 $                 0.00
            Net income from the operation of a business, profession, or farm. Subtract Line b from Line a
            and enter the difference in the appropriate column(s) of Line 3. If more than one business
            profession or farm, enter aggregate numbers and provide details on an attachment. Do not enter a
            number less than zero.
     3
                                                                        Debtor                 Spouse
             a.    Gross receipts                               $                0.00 $                0.00
             b.    Ordinary and necessary business expenses $                    0.00 $                0.00
             c.    Business income                              Subtract Line b from Line a                  $                 0.00 $                0.00
            Net Rental and other real property income. Subtract Line b from Line a and enter the
            difference in the appropriate column(s) of Line 4. Do not enter a number less than zero.
     4                                                                 Debtor                 Spouse
             a.    Gross receipts                               $               0.00 $                    0.00
             b.    Ordinary and necessary operating expenses $                  0.00 $                    0.00
             c.    Rent and other real property income          Subtract Line b from Line a                      $             0.00 $                0.00
     5      Interest, dividends, and royalties.                                                                  $             0.00 $                0.00
     6      Pension and retirement income.                                                                       $             0.00 $                0.00
            Any amounts paid by another person or entity, on a regular basis, for the household
            expenses of the debtor or the debtor's dependents, including child support paid for that
     7      purpose. Do not include alimony or separate maintenance payments or amounts paid by the
            debtor's spouse if Column B is completed. Each regular payment should be reported in only one
            column; if a payment is listed in Column A, do not report that payment in Column B.                  $             0.00 $                0.00
            Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
            However, if you contend that unemployment compensation received by you or your spouse was a
            benefit under the Social Security Act, do not list the amount of such compensation in Column A
     8      or B, but instead state the amount in the space below:
             Unemployment compensation claimed to
             be a benefit under the Social Security Act Debtor $             0.00 Spouse $                0.00 $               0.00 $                0.00
            Income from all other sources. Specify source and amount. If necessary, list additional sources
            on a separate page. Total and enter on Line 9. Do not include alimony or separate maintenance
            payments paid by your spouse if Column B is completed, but include all other payments of
            alimony or separate maintenance. Do not include any benefits received under the Social
     9      Security Act or payments received as a victim of a war crime, crime against humanity, or as a
            victim of international or domestic terrorism.
                                                                        Debtor               Spouse
             a. Other employment (net)                           $          6,469.76 $                  0.00
             b.                                                  $                      $                    $            6,469.76 $                 0.00
    10      Subtotal of current monthly income. Add lines 2 thru 9 in Column A, and, if Column B is
            completed, add Lines 2 thru 9 in Column B. Enter the total(s).                                       $        9,999.30 $                 0.00

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            Total current monthly income. If Column B has been completed, add Line 10, Column A to
    11      Line 10, Column B, and enter the total. If Column B has not been completed, enter the amount
            from Line 10, Column A.                                                                                 $                            9,999.30

                                                                       Part II. VERIFICATION
            I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
            must sign.)
    12                    Date: February 21, 2013                                       Signature: /s/ Leslie P. Holdsworth
                                                                                                     Leslie P. Holdsworth
                                                                                                                (Debtor)




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